          Case 1:19-cv-02379-KBJ Document 41 Filed 10/29/19 Page 1 of 4



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 COMMITTEE ON THE JUDICIARY,
 UNITED STATES HOUSE OF
 REPRESENTATIVES,

                               Plaintiff,
                                                           No. 19-cv-2379 (KBJ)
        v.

 DONALD F. MCGAHN II,

                               Defendant.


                                            NOTICE

       Plaintiff Committee on the Judiciary (Committee) respectfully submits this Notice to

apprise the Court of the state of the parties’ negotiations concerning an interview with Donald

McGahn, and of new authority issued following the filing of Plaintiff’s final summary judgment

brief that bears on Plaintiff’s showing that no accommodation is possible here and that the Court

must decide this case.

       1. Contrary to McGahn’s contention, see Def.’s Reply at 27-30 (Oct. 25, 2019), ECF No.

40, the parties have been and “currently remain at an impasse” regarding a potential Committee

interview of McGahn, Pl.’s Opp’n at 38 (Oct. 16, 2019), ECF No. 37. The parties have spoken

on several occasions since October 1, 2019, when McGahn raised the notion that the White

House Counsel’s Office would “consider an interview” of him by the Committee, Def.’s Opp’n

at 45 (Oct. 1, 2019), ECF No. 32 (emphasis added), and the Committee has offered a variety of

accommodations in a good faith effort to pursue a compromise. In response, however, the White

House has insisted on terms that are unacceptable to the Committee. For example, the White

House requires that any interview of McGahn not be conducted as part of the Committee’s
          Case 1:19-cv-02379-KBJ Document 41 Filed 10/29/19 Page 2 of 4



impeachment inquiry, notwithstanding that the Committee’s exercise of its constitutional

function of deciding whether to recommend articles of impeachment has been and remains one

of the essential purposes for which it is seeking McGahn’s testimony. See, e.g., Compl. ¶¶ 4, 5

(Aug. 7, 2019), ECF No. 1. There is plainly no accommodation that will break this impasse.

       2. Nor do McGahn’s arguments that the Administration has “agree[d]” to provide the

Committee with “FBI reports of interviews of Mr. McGahn” or other “documents in Mr.

McGahn’s possession” provide any reason for the Court to abstain. Def.’s Reply at 27, 29; see

id. at 44 n.25. Quite the contrary, as the Committee has advised the Court regarding the FBI-302

reports of McGahn’s interviews—and as is also true of the “other documents” McGahn

references—none of these materials has actually been produced to the Committee. See Pl.’s

Reply at 39. And the Department of Justice (DOJ) “has raised substantial doubts” about whether

these materials will ever be produced to the Committee, despite agreements by the White House

and DOJ to do so many months ago. Id.

       Last week, another judge of this Court rejected an argument by DOJ nearly identical to

that which it presses here. See In re App. of the Comm., — F. Supp. 3d —, 2019 WL 5485221,

at *36-37 (D.D.C. Oct. 25, 2019), appeal filed, No. 19-5288 (D.C. Cir. Oct. 28, 2019). In that

case, over DOJ’s objection, the court authorized the disclosure of certain grand jury materials

redacted from the Mueller Report to the Committee as part of the Committee’s impeachment

inquiry. Id. at *2. DOJ had argued that the Committee could not establish the requisite

“particularized need” on the theory that the Committee could rely on other sources of

information, including the same FBI-302 reports that McGahn invokes in service of his

accommodations argument here. Id. at *36. In dismissing DOJ’s contention that the court

should “wait[] for DOJ to fulfill its promised production of FBI interview reports,” the court




                                                2
            Case 1:19-cv-02379-KBJ Document 41 Filed 10/29/19 Page 3 of 4



stated:

          These arguments smack of farce. The reality is that DOJ and the White House
          have been openly stonewalling the House’s efforts to get information by subpoena
          and by agreement, and the White House has flatly stated that the Administration
          will not cooperate with congressional requests for information. See Letter from
          Pat A. Cipollone, Counsel to the President, to Representative Nancy Pelosi,
          Speaker of the House, et al. (Oct. 8, 2019) at 2. …

          The White House’s stated policy of non-cooperation with the impeachment
          inquiry weighs heavily in favor of disclosure.

In re App. of the Comm., 2019 WL 5485221, at *36-37.

          That same stonewalling necessitates the Court’s intervention here.

                                               Respectfully submitted,

                                               /s/ Douglas N. Letter
                                               Douglas N. Letter (DC Bar No. 253492)
                                                   General Counsel
                                               Todd B. Tatelman (VA Bar No. 66008)
                                                   Deputy General Counsel
                                               Megan Barbero (MA Bar No. 668854)
                                                   Associate General Counsel
                                               Josephine Morse (DC Bar No. 1531317)
                                                   Associate General Counsel
                                               Adam A. Grogg (DC Bar No. 1552438)
                                                   Assistant General Counsel
                                               OFFICE OF GENERAL COUNSEL
                                               U.S. HOUSE OF REPRESENTATIVES
                                               219 Cannon House Office Building
                                               Washington, D.C. 20515
                                               Telephone: (202) 225-9700
                                               douglas.letter@mail.house.gov

                                               Annie L. Owens (DC Bar No. 976604)
                                               Joshua A. Geltzer (DC Bar No. 1018768)
                                               Seth Wayne (DC Bar No. 888273455)
                                               INSTITUTE FOR CONSTITUTIONAL
                                               ADVOCACY AND PROTECTION
                                               Georgetown University Law Center
                                               600 New Jersey Avenue NW
                                               Washington, D.C. 20001
                                               Telephone: (202) 662-9042
                                               ao700@georgetown.edu



                                                  3
         Case 1:19-cv-02379-KBJ Document 41 Filed 10/29/19 Page 4 of 4




                                    Counsel for Plaintiff, Committee on the Judiciary,
                                    United States House of Representatives

October 29, 2019




                                       4
